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 6
 7
 8                   IN THE UNITED STATES DISTRICT COURT
 9               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
11   KENNETH KRANZ and LUCINDA                    ) Case No. '22CV588 L KSC
     KRANZ,                                       )
12
                                                  )
13                          Plaintiffs,           ) ORIGINAL COMPLAINT
                                                  )
14
     vs.                                          )
15                                                )
     AIR & LIQUID SYSTEMS                         ) Jury Trial Demanded
16
     CORPORATION (sued as successor-by- )
17   merger to BUFFALO PUMPS, INC.);              )
                                                  )
18
     ALFA LAVAL, INC. (sued                       )
19   individually and as successor-in-interest to )
     THE DELAVAL SEPARATOR                        )
20
     COMPANY);                                    )
21                                                )
     ARMSTRONG INTERNATIONAL,                     )
22
     INC.;                                        )
23                                                )
     BLACKMER PUMP COMPANY;                       )
24
                                                  )
25   CAMERON INTERNATIONAL                        )
26
     CORPORATION f/k/a COOPER                     )
     CAMERON CORPORATION (sued                    )
27   individually and as successor-in-interest to )
28   THE COOPER-BESSEMER                          )
                                                  )
                                                                            Page 1
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 1   CORPORATION);                                  )
 2
                                                    )
     CLA-VAL CO.;                                   )
 3                                                  )
 4
     CRANE CO.;                                     )
                                                    )
 5   ELLIOTT COMPANY f/k/a and d/b/a                )
 6   ELLIOTT TURBOMACHINERY                         )
     COMPANY;                                       )
 7                                                  )
 8   FLOWSERVE US, INC. (sued as                    )
     successor to EDWARD VALVE, INC.);              )
 9                                                  )
10   FMC CORPORATION (sued individually             )
     and as successor-in-interest to                )
11   NORTHERN PUMP COMPANY f/k/a                    )
12   NORTHERN FIRE APPARATUS                        )
     COMPANY);                                      )
13                                                  )
14   GARDNER DENVER, INC.;                          )
                                                    )
15   GENERAL ELECTRIC COMPANY;                      )
16                                                  )
     THE GOODYEAR TIRE & RUBBER                     )
17   COMPANY;                                       )
18                                                  )
     HOPEMAN BROTHERS INC.;                         )
19                                                  )
20   HUNTINGTON INGALLS                             )
     INDUSTRIES, INC. f/k/a NORTHROP                )
21   GRUMMAN SHIP SYSTEMS (sued                     )
22   individually and as successor-in-interest to   )
     NEWPORT NEWS SHIPBUILDING AND                  )
23   DRY DOCK COMPANY);                             )
24                                                  )
     HUNTINGTON INGALLS                             )
25   INCORPORATED f/k/a NORTHROP                    )
26   GRUMMAN SHIP SYSTEMS (sued                     )
     individually and as successor-in-interest to   )
27   NEWPORT NEWS SHIPBUILDING                      )
28                                                  )
     AND DRY DOCK COMPANY);                         )
                                                                            Page 2
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 1                                                  )
 2
     IMO INDUSTRIES, INC. (sued                     )
     individually and as successor-in-interest to   )
 3   DELAVAL TURBINE, INC. and C.H.                 )
 4
     WHEELER MANUFACTURING                          )
     COMPANY);                                      )
 5                                                  )
 6   JOHN CRANE, INC.;                              )
                                                    )
 7   J.T. THORPE & SON, INC.;                       )
 8                                                  )
     METROPOLITAN LIFE INSURANCE                    )
 9   COMPANY;                                       )
10                                                  )
     PARAMOUNT GLOBAL f/k/a                         )
11   VIACOMCBS INC. f/k/a CBS                       )
12   CORPORATION (a Delaware Corporation)           )
     f/k/a VIACOM, INC. successor-by-merger         )
13   to CBS CORPORATION (a Pennsylvania             )
14   Corporation) f/k/a WESTINGHOUSE                )
     ELECTRIC CORPORATION and as                    )
15   successor-in-interest to BF                    )
16   STURTEVANT);                                   )
                                                    )
17   SUPERIOR-LIDGERWOOD-MUNDY                      )
18   CORPORATION (sued individually and             )
     as successor-in-interest to M.T.               )
19   DAVIDSON COMPANY);                             )
20                                                  )
     SYD CARPENTER, MARINE                          )
21   CONTRACTOR, INC.;                              )
22                                                  )
     TACO, INC.;                                    )
23                                                  )
24   UNION CARBIDE CORPORATION;                     )
                                                    )
25   UNISYS CORPORATION (sued                       )
26   individually and as successor-in-interest to   )
     WATERBURY TOOL COMPANY);                       )
27                                                  )
28   VELAN VALVE CORP. a/k/a VELAN                  )
     VALVE CORPORATION;                             )
                                                                            Page 3
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 1                                                 )
 2
      VIAD CORP f/k/a VIAD                         )
      CORPORATION f/k/a THE DIAL                   )
 3    CORPORATION (sued individually and as )
 4
      successor-in-interest to GRISCOM-            )
      RUSSELL COMPANY);                            )
 5                                                 )
 6    WARREN PUMPS, LLC (sued                      )
      individually and as successor-in-interest to )
 7    QUIMBY PUMP COMPANY);                        )
 8                                                 )
      WEIR VALVES & CONTROLS USA,                  )
 9    INC. f/k/a ATWOOD & MORRILL;                 )
10                                                 )
      THE WILLIAM POWELL COMPANY; )
11                                                 )
12    and DOES 1-450 INCLUSIVE,                    )
                                                   )
13                        Defendants.              )
14                                                 )
                                                   )
15                                                 )
16
17            Plaintiffs KENNETH KRANZ and LUCINDA KRANZ bring this action for

18
     damages against Defendants, demanding a trial by jury, and hereby make the following
     allegations:
19
                                 NATURE OF THE ACTION
20
              1.    Plaintiff KENNETH KRANZ suffers from mesothelioma, a form of
21
     cancer caused by exposure to asbestos. As a result of his diagnosis, he has suffered
22
     and will continue to suffer physical pain, emotional distress, loss of enjoyment of life,
23
     and loss of bodily functions. He has also incurred and will incur medical expenses, a
24
     loss of income and income potential, and other damages associated with the diagnosis,
25
     treatment and medical course of his disease. His spouse, Plaintiff LUCINDA KRANZ,
26
     has also suffered and will continue to suffer a loss of society and consortium together
27
     with related anguish and grief.
28
     //
                                                                                       Page 4
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 1                             JURISDICTION AND VENUE
 2         2.    This Court has original jurisdiction over these federal claims pursuant to
 3 28 U.S.C. §1332 because: (a) the matter in controversy exceeds $75,000.00 exclusive
 4 of interest and costs, and (b) the matter is between citizens of different states.
 5         3.    Venue is proper in the Southern District of California under 28 U.S.C.
 6 §1391 because a substantial part of the events or omissions giving rise to this case
 7 occurred within this District, and at least one defendant resides in this District.
 8                                      THE PARTIES
 9         4.    Plaintiffs KENNETH KRANZ and LUCINDA KRANZ are residents of
10 the State of Texas.
11         5.    Upon information and belief and at all relevant times, the named
12 Defendants designed, marketed, manufactured, distributed, supplied and/or sold raw
13 asbestos fibers of various kinds and grades, and/or asbestos-containing products,
14 and/or equipment requiring and/or calling for the use of asbestos and/or asbestos-
15 containing products to which Plaintiff KENNETH KRANZ was exposed. At all
16 relevant times, each of the Defendants was the agent, servant, employee and/or joint
17 venture of its Co-Defendants, and each of them, and at all said times each Defendant
18 was acting in the full course and scope of said agency, service, employee and/or joint
19 venture. For purposes of this Complaint, each Defendant hereinafter mentioned shall
20 include the present business entity, as well as all of its predecessor and/or successor
21 corporations and entities as applicable. Upon information and belief, each Defendant
22 (a) was and is an individual, corporation, partnership and/or unincorporated association
23 organized and existing under and by virtue of the laws of the State of California or the
24 laws of some other state or foreign jurisdiction to do business in the States of
25 California; (b) in person or through an agent transacts business in the State of
26 California; (c) regularly does and/or solicits business within the State of California; (d)
27 derives substantial revenue from goods used or consumed in the State of California;
28 and (e) expected or should have expected its acts to have consequences within the State
                                                                                         Page 5
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 1 of California and derives substantial revenue from interstate and/or international
 2 commerce.
 3        6.    Defendant AIR & LIQUID SYSTEMS CORPORATION (sued as
 4 successor-by-merger to BUFFALO PUMPS, INC.) is a Pennsylvania corporation
 5 whose registered agent for service of process is Corporation Service Company, 2595
 6 Interstate Drive, Suite 103, Harrisburg, PA 17110, and whose offices are located at 874
 7 Oliver Street, North Tonawanda, NY 14120. Defendant AIR & LIQUID SYSTEMS
 8 CORPORATION (sued as successor-by-merger to BUFFALO PUMPS, INC.) is
 9 being sued for asbestos-containing Buffalo Pumps.
10        7.    Defendant ALFA LAVAL, INC. (sued individually and as successor-in-
11 interest to THE DELAVAL SEPARATOR COMPANY) is a New Jersey corporation
12 whose registered agent for service of process is CT Corporation System, 330 N. Brand
13 Boulevard, Suite 700, Glendale, CA 91203, and whose offices are located at 5400
14 International Trade Drive, Richmond, VA 23231. Defendant ALFA LAVAL, INC.
15 (sued individually and as successor-in-interest to THE DELAVAL SEPARATOR
16 COMPANY) is being sued for asbestos-containing DeLaval Pumps and DeLaval
17 Purifiers.
18        8.    Defendant ARMSTRONG INTERNATIONAL, INC. is a Michigan
19 corporation which may be served with process at its registered agent at its principal
20 place of business, David Dykstra, 900 Maple Street, Three Rivers, MI 49093.
21 Defendant THE ARMSTRONG INTERNATIONAL, INC. is being sued for
22 asbestos-containing Armstrong Steam Traps and Armstrong Strainers.
23        9.    Defendant BLACKMER PUMP COMPANY is a Michigan corporation
24 which may be served with process at its principal place of business, 1809 Century
25 Avenue SW, Grand Rapids, MI 49503-1530.             Defendant BLACKMER PUMP
26 COMPANY is being sued for asbestos-containing Blackmer Pumps.
27        10.   Defendant CAMERON INTERNATIONAL CORPORATION f/k/a
28 COOPER CAMERON CORPORATION (sued individually and as successor-in-
                                                                                   Page 6
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 1 interest to THE COOPER-BESSEMER CORPORATION) is a Delaware corporation
 2 which may be served with process at its registered agent in California, CT Corporation
 3 System, 330 N. Brand Boulevard, Suite 700, Glendale, CA 91203, and whose offices
 4 are located at 1333 W. Loop South, Suite 1700, Houston, TX 77027. Defendant
 5 CAMERON INTERNATIONAL CORPORATION f/k/a COOPER CAMERON
 6 CORPORATION (sued individually and as successor-in-interest to THE COOPER-
 7 BESSEMER CORPORATION) is being sued for asbestos-containing Cooper
 8 Bessemer Generators, Cooper Bessemer Diesel Engines, and Cooper Bessemer Oil
 9 Coolers.
10         11.    Defendant CLA-VAL CO. is a Washington corporation and may be
11 served with process at its principal place of business, 1701 Placentia Avenue, Costa
12 Mesa, CA 92627-4475.       Defendant CLA-VAL CO. is being sued for asbestos-
13 containing Cla-Val Valves.
14         12.    Defendant CRANE CO. is a Delaware corporation whose registered
15 agent for service of process is CT Corporation System, 330 N. Brand Boulevard, Suite
16 700, Glendale, CA 91203, and whose offices are located at 100 First Stamford Place,
17 Stamford, CT 06902. Defendant CRANE CO. is being sued for asbestos-containing
18 Cranite Gaskets, Cranite Packing, and Crane Valves.
19         13.    Defendant ELLIOTT COMPANY f/k/a and d/b/a ELLIOTT
20 TURBOMACHINERY COMPANY is a Delaware corporation whose registered agent
21 for service of process is CT Corporation System, 330 N. Brand Boulevard, Suite 700,
22 Glendale, CA 91203, and whose offices are located at 901 N. Fourth Street, Jeanette,
23 PA 15644 and 10940 W. Sam Houston Parkway North, Suite 150, Houston, TX 77064-
24 5768.         Defendant   ELLIOTT     COMPANY         f/k/a   and   d/b/a   ELLIOTT
25 TURBOMACHINERY COMPANY is being sued for asbestos-containing Elliott
26 Deaerating Feed Systems and Elliott Condensers.
27         14.    Defendant FLOWSERVE US, INC. (sued as successor to EDWARD
28 VALVE, INC.) is a Delaware corporation whose registered agent for service of process
                                                                                  Page 7
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 1 is CT Corporation System, 330 N. Brand Boulevard, Suite 700, Glendale, CA 91203,
 2 and whose offices are located at 5215 North O’Connor Boulevard, Suite 2300, Irving,
 3 TX 75039. Defendant FLOWSERVE US, INC. (sued as successor to EDWARD
 4 VALVE, INC.) is being sued for asbestos-containing Edward Valves.
 5         15.   Defendant FMC CORPORATION (sued individually and as successor-
 6 in-interest   to NORTHERN PUMP COMPANY f/k/a NORTHERN FIRE
 7 APPARATUS COMPANY) is a Delaware corporation whose registered agent for
 8 service of process is CT Corporation System, 330 N. Brand Boulevard, Suite 700,
 9 Glendale, CA 91203, and whose offices are located at 2929 Walnut Street,
     Philadelphia, PA 19104. Defendant FMC CORPORATION (sued individually and
10
     as successor-in-interest to NORTHERN PUMP COMPANY f/k/a NORTHERN FIRE
11
     APPARATUS COMPANY) is being sued for asbestos-containing Northern Pumps.
12
           16.   Defendant GARDNER DENVER, INC. is a Delaware corporation
13
     whose registered agent for service of process is CT Corporation System, 330 N. Brand
14
     Boulevard, Suite 700, Glendale, CA 91203, and whose offices are located at 1800
15
     Gardner Expressway, Quincy, IL 62305-9364. Defendant GARDNER DENVER,
16
     INC. is being sued for asbestos-containing Gardner Denver Pumps.
17
           17.   Defendant GENERAL ELECTRIC COMPANY is a New York
18
     corporation whose registered agent for service of process is CT Corporation System,
19
     330 N. Brand Boulevard, Suite 700, Glendale, CA 91203, and whose offices are
20
     located at 5 Necco Street, Boston, MA 02210. Defendant GENERAL ELECTRIC
21 COMPANY is being sued for asbestos-containing General Electric Ships Service
22 Generators.
23         18.   Defendant THE GOODYEAR TIRE & RUBBER COMPANY is an
24 Ohio corporation whose registered agent for service of process is Corporation Service
25 Company d/b/a CSC-Lawyers Incorporating Service, 2710 Gateway Oaks Drive, Suite
26 150N, Sacramento, CA 95833, and whose offices are located at 200 Innovation Way,
27 Akron, OH 44316. Defendant THE GOODYEAR TIRE & RUBBER COMPANY
28 is being sued for asbestos-containing Cranite Gaskets and Cranite Packing.
                                                                                  Page 8
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 1         19.    Defendant HOPEMAN BROTHERS INC. is an Virginia corporation
 2 whose registered agent for service of process is CT Corporation Service, 4701 Cox
 3 Road, Suite 285, Glen Allen, VA 23060, and whose offices are located at 435 Essex
 4 Ave, Suite 101, Waynesboro, VA 22980.          Defendant HOPEMAN BROTHERS
 5 INC.is being sued as a supplier of asbestos-containing Marinite Board and Micarta
 6 Board.
 7         20.    Defendant HUNTINGTON INGALLS INDUSTRIES, INC. f/k/a

 8 NORTHROP GRUMMAN SHIP SYSTEMS (sued individually and as successor-in-
 9 interest to NEWPORT NEWS SHIPBUILDING AND DRY DOCK COMPANY) is a
     Delaware corporation whose registered agent for service of process is The Corporation
10
     Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington, DE
11
     19801, and whose offices are located at 4101 Washington Avenue, Newport News, VA
12
     23607.      Defendant HUNTINGTON INGALLS INDUSTRIES, INC. f/k/a
13
     NORTHROP GRUMMAN SHIP SYSTEMS (sued individually and as successor-in-
14
     interest to NEWPORT NEWS SHIPBUILDING AND DRY DOCK COMPANY) is
15
     being sued for asbestos-containing Newport News Shipbuilding Condensers.
16
           21.    Defendant HUNTINGTON INGALLS INCORPORATED f/k/a
17
     NORTHROP GRUMMAN SHIP SYSTEMS (sued individually and as successor-in-
18
     interest to NEWPORT NEWS SHIPBUILDING AND DRY DOCK COMPANY) is a
19
     Virginia corporation whose registered agent for service of process is CT Corporation
20
     System, 330 N. Brand Boulevard, Suite 700, Glendale, CA 91203, and whose offices
21 are located at 4101 Washington Avenue, Newport News, VA 23607. Defendant
22 HUNTINGTON INGALLS INCORPORATED f/k/a NORTHROP GRUMMAN
23 SHIP SYSTEMS (sued individually and as successor-in-interest to NEWPORT NEWS
24 SHIPBUILDING AND DRY DOCK COMPANY) is being sued for asbestos-
25 containing Newport News Shipbuilding Condensers.
26         22.    Defendant IMO INDUSTRIES, INC. (sued individually and as
27 successor-in-interest to DELAVAL TURBINE, INC. and C.H. WHEELER
28 MANUFACTURING COMPANY) is a Delaware corporation whose registered agent
                                                                                   Page 9
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 1 for service of process is CT Corporation System, 330 N. Brand Boulevard, Suite 700,
 2 Glendale, CA 91203, and whose offices are located at 1710 Airport Road, Monroe, NC
 3 28110 and 3525 Quaker Bridge Road, Suite 912, Hamilton, NJ 08619. Defendant IMO
 4 INDUSTRIES, INC. (sued individually and as successor-in-interest to DELAVAL
 5 TURBINE, INC. and C.H. WHEELER MANUFACTURING COMPANY) is being
 6 sued for asbestos-containing DeLaval Pumps, DeLaval Purifiers, C.H. Wheeler Tank
 7 Ejectors, and C.H. Wheeler Air Ejectors.
 8         23.   Defendant JOHN CRANE, INC. is a Delaware corporation whose

 9 registered agent for service of process is CT Corporation System, 330 N. Brand
     Boulevard, Suite 700, Glendale, CA 91203, and whose offices are located at 6400 W.
10
     Oakton Street, Morton Grove, IL 60053-2725. Defendant JOHN CRANE, INC. is
11
     being sued for asbestos-containing John Crane Gaskets and John Crane Packing.
12
           24.   Defendant J.T. THORPE & SON, INC. is a California corporation
13
     whose registered agent for service of process and offices are located at 1060 Hensley
14
     Street, Richmond, CA 94801. Defendant J.T. THORPE & SON, INC. is being sued
15
     as a Contractor Defendant and supplier of asbestos-containing insulation products.
16
           25.   Defendant METROPOLITAN LIFE INSURANCE COMPANY is a
17
     New York corporation whose registered agent for service of process is CT Corporation
18
     System, 330 N. Brand Boulevard, Suite 700, Glendale, CA 91203, and whose offices
19
     are located at 200 Park Avenue, New York, NY 10166.                        Defendant
20
     METROPOLITAN LIFE INSURANCE COMPANY is being sued for Conspiracy.
21         26.   Defendant PARAMOUNT GLOBAL f/k/a VIACOMCBS INC. f/k/a
22 CBS CORPORATION) f/k/a VIACOM, INC. successor-by-merger to CBS
23 CORPORATION f/k/a WESTINGHOUSE ELECTRIC CORPORATION and as
24 successor-in-interest to BF STURTEVANT) is a Delaware corporation whose
25 registered agent for service of process is Corporation Service Company d/b/a CSC-
26 Lawyers Incorporating Service, 2710 Gateway Oaks Drive, Suite 150N, Sacramento,
27 CA 95833, and whose offices are located at 1515 Broadway, New York, NY 10036.
28 Defendant     PARAMOUNT          GLOBAL        fa   Pennsylvania   Corporation)      f/k/a
                                                                                     Page 10
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 1 WESTINGHOUSE ELECTRIC CORPORATION and as successor-in-interest to BF
 2 STURTEVANT) is being sued for asbestos-containing Westinghouse Pumps,
 3 Westinghouse       Valves,     Westinghouse    Turbines,   Westinghouse   Generators,
 4 Westinghouse      Ships      Service   Generators,   Westinghouse   Reduction   Gears,
 5 Westinghouse Air Ejectors, Westinghouse Condensers, Westinghouse Coolers, BF
 6 Sturtevant Pumps, BF Sturtevant Turbines, and BF Sturtevant Forced Draft Blowers.
 7         27.   Defendant SUPERIOR-LIDGERWOOD-MUNDY CORPORATION

 8 is a Wisconsin corporation whose registered agent for service of process, Arthur R.
 9 Woodman, and offices are located at 302 Grand Avenue, Superior, WI 54880.
     Defendant    SUPERIOR-LIDGERWOOD-MUNDY                    CORPORATION           (sued
10
     individually and as successor-in-interest to M.T. DAVIDSON COMPANY) is being
11
     sued for asbestos-containing M.T. Davidson Pumps.
12
           28.   Defendant SYD CARPENTER, MARINE CONTRACTOR, INC. is a
13
     California corporation whose registered agent for service of process is Jeremy
14
     Milbrodt, Prindle, Amaro, Goetz, Hillyard, Barnes & Reinholtz LLP, 310 Golden
15
     Shore Parkway, 4th Floor, Long Beach, CA 90802, and whose offices are located at
16
     9809 Rose Drive, Hesperia, CA 95024. Defendant SYD CARPENTER, MARINE
17
     CONTRACTOR, INC. is being sued as a Contractor Defendant and supplier of
18
     asbestos-containing insulation products.
19
           29.   Defendant TACO, INC. is a Rhode Island corporation whose registered
20
     agent for service of process is Corporation Service Company d/b/a CSC-Lawyers
21 Incorporating Service, 2710 Gateway Oaks Drive, Suite 150N, Sacramento, CA 95833,
22 and whose offices are located at 1160 Cranston Street, Cranston, RI 02920. Defendant
23 TACO, INC. is being sued for asbestos-containing Taco Pumps.
24         30.   Defendant UNION CARBIDE CORPORATION is a New York
25 corporation whose registered agent for service of process is CT Corporation System,
26 330 N. Brand Boulevard, Suite 700, Glendale, CA 91203, and whose offices are
27 located at 7501 State Highway 185 North, Seadrift, TX 77983. Defendant UNION
28 CARBIDE CORPORATION is being sued for its mining, milling, sale and supply
                                                                                   Page 11
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 1 of Calidria asbestos fibers.
 2         31.   Defendant UNISYS CORPORATION (sued individually and as
 3 successor-in-interest to WATERBURY TOOL COMPANY) is a Delaware corporation
 4 whose registered agent for service of process is Corporation Service Company d/b/a
 5 CSC-Lawyers Incorporating Service, 2710 Gateway Oaks Drive, Suite 150N,
 6 Sacramento, CA 95833, and whose offices are located at 801 Lakeview Drive, Suite
 7 100, Blue Bell, PA 19422. Defendant UNISYS CORPORATION (sued individually
 8 and as successor-in-interest to WATERBURY TOOL COMPANY) is being sued for
 9 asbestos-containing Waterbury Pumps.
           32.   Defendant    VELAN     VALVE      CORP.     a/k/a   VELAN    VALVE
10
     CORPORATION is a Delaware corporation whose registered agent for service of
11
     process is Corporation Service Company d/b/a CSC-Lawyers Incorporating Service,
12
     2710 Gateway Oaks Drive, Suite 150N, Sacramento, CA 95833, and whose offices are
13
     located at 94 Avenue C, Williston, VT 05495. Defendant VELAN VALVE CORP.
14
     a/k/a VELAN VALVE CORPORATION is being sued for asbestos-containing Velan
15
     Valves.
16
           33.   Defendant VIAD CORP f/k/a VIAD CORPORATION f/k/a THE DIAL
17
     CORPORATION (sued individually and as successor-in-interest to GRISCOM-
18
     RUSSELL COMPANY) is a Delaware corporation whose registered agent for service
19
     of process is CT Corporation System, 330 N. Brand Boulevard, Suite 700, Glendale,
20
     CA 91203, and whose offices are located at 1850 N. Central Avenue, Suite 800,
21 Phoenix, AZ 85004-4545. Defendant VIAD CORP f/k/a VIAD CORPORATION
22 f/k/a THE DIAL CORPORATION (sued individually and as successor-in-interest to
23 GRISCOM-RUSSELL COMPANY) is being sued for asbestos-containing Griscom-
24 Russell Distilling Plants and Griscom-Russell Fuel Oil Heaters.
25         34.   Defendant WARREN PUMPS, LLC (sued individually and as
26 successor-in-interest to QUIMBY PUMP COMPANY) is a Delaware limited liability
27 company whose registered agent for service of process is The Corporation Trust
28 Company, Corporation Trust Center, 1209 Orange Street, Wilmington, DE 19801, and
                                                                               Page 12
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 1 whose offices are located at 82 Bridges Avenue, Warren, MA 01083. The managing
 2 member of Defendant WARREN PUMPS, LLC (sued individually and as successor-
 3 in-interest to QUIMBY PUMP COMPANY) is Colfax Corporation, a Delaware
 4 corporation with its principal place of business in Maryland. Therefore, Defendant
 5 WARREN PUMPS, LLC (sued individually and as successor-in-interest to QUIMBY
 6 PUMP COMPANY) is a citizen of the States of Delaware and Maryland. Defendant
 7 WARREN PUMPS, LLC (sued individually and as successor-in-interest to QUIMBY
 8 PUMP COMPANY) is being sued for asbestos-containing Warren Pumps and Quimby
 9 Pumps.
           35.    Defendant WEIR VALVES & CONTROLS USA, INC. f/k/a
10
     ATWOOD & MORRILL is a Massachusetts corporation whose registered agent for
11
     service of process and offices are located at 29 Old Right Road, Ipswich, MA 01938-
12
     1119. Defendant WEIR VALVES & CONTROLS USA, INC. f/k/a ATWOOD &
13
     MORRILL is being sued for asbestos-containing Atwood & Morrill Valves.
14
           36.    Defendant THE WILLIAM POWELL COMPANY is an Ohio
15
     corporation whose registered agent for service of process, David R. Cowart, and offices
16
     are located at 3261 Spring Grove Avenue, Cincinnati, OH 45225. Defendant THE
17
     WILLIAM POWELL COMPANY is being sued for asbestos-containing Powell
18
     Valves.
19
           PLAINTIFF KENNETH KRANZ’S EXPOSURE TO ASBESTOS
20
           37.    Plaintiffs contend Plaintiff KENNETH KRANZ was exposed to and
21 inhaled asbestos dust created by the ordinary and intended use of Defendants’ raw
22 asbestos fibers of various kinds and grades, and/or asbestos-containing products,
23 and/or equipment requiring and/or calling for the use of asbestos and/or asbestos-
24 containing products (hereinafter collectively referred to as “Defendants’ Products”),
25 and that his inhalation of such asbestos dust was a substantial factor in causing or
26 contributing to cause his malignant mesothelioma.
27         38.    Plaintiffs allege that Plaintiff KENNETH KRANZ was exposed to
28 Defendants’ Products during his service as a Machinist’s Mate in the United States
                                                                                    Page 13
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 1 Navy on the USS Bon Homme Richard (CVA-31) from approximately 1962 to 1965
 2 at various locations including, but not limited to, the San Diego Naval Shipyard in San
 3 Diego, California, various missions in the Atlantic Ocean and Pacific Ocean, in Japan,
 4 and during a drydock in Puget Sound Naval Shipyard in Bremerton, Washington. His
 5 duties included, but were not limited to, standing watch and working in the engine
 6 room, checking the temperature of the bearings in the ship, and performing
 7 maintenance and repairs including, but not limited to: repairing, replacing and packing
 8 pumps and valves; fabricating and replacing gaskets and packings; and repairing and
 9 insulating turbines, generators, diesel engines and oil purifiers. While performing his
     duties, Plaintiff KENNETH KRANZ was exposed to respirable asbestos released
10
     during the ordinary and intended use of the following Defendants’ Products both as a
11
     result of his own work with Defendants’ Products, and as a result of his work in close
12
     proximity to other servicemen and tradesmen working with asbestos-containing
13
     products and/or equipment requiring and/or calling for the use of asbestos and/or
14
     asbestos-containing products. Upon information and belief, the Products which were
15
     designed, manufactured and/or supplied by Defendants which Plaintiff KENNETH
16
     KRANZ believes he was exposed during his service in the United States Navy include,
17
     but are not limited to, the following:
18
           a.     Plaintiff KENNETH KRANZ worked with and/or around asbestos-
19
     containing Buffalo Pumps which he contends AIR & LIQUID SYSTEMS
20
     CORPORATION (sued as successor-by-merger to BUFFALO PUMPS, INC.) is
21 legally responsible. As a Machinist’s Mate, Plaintiff’s work with and around Buffalo
22 Pumps caused the release of respirable asbestos which Plaintiff contends he inhaled.
23 Inhalation of such respirable asbestos dust was a substantial factor in causing Plaintiff
24 KENNETH KRANZ’s mesothelioma.
25         b.     Plaintiff KENNETH KRANZ worked with and/or around asbestos-
26 containing DeLaval Purifiers and DeLaval Pumps which he contends ALFA LAVAL,
27 INC. (sued individually and as successor-in-interest to THE DELAVAL
28 SEPARATOR COMPANY) is legally responsible. As a Machinist’s Mate, Plaintiff’s
                                                                                    Page 14
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 1 work with and around DeLaval Purifiers and DeLaval Pumps caused the release of
 2 respirable asbestos which Plaintiff contends he inhaled. Inhalation of such respirable
 3 asbestos dust was a substantial factor in causing Plaintiff KENNETH KRANZ’s
 4 mesothelioma.
 5         c.     Plaintiff KENNETH KRANZ worked with and/or around asbestos-
 6 containing Armstrong Steam Traps and Armstrong Strainers which he contends
 7 ARMSTRONG INTERNATIONAL, INC. is legally responsible. As a Machinist’s
 8 Mate, Plaintiff’s work with and around Armstrong Steam Traps and Armstrong
 9 Strainers caused the release of respirable asbestos which Plaintiff contends he inhaled.
     Inhalation of such respirable asbestos dust was a substantial factor in causing Plaintiff
10
     KENNETH KRANZ’s mesothelioma.
11
           d.     Plaintiff KENNETH KRANZ worked with and/or around asbestos-
12
     containing Blackmer Pumps which he contends BLACKMER PUMP COMPANY is
13
     legally responsible. As a Machinist’s Mate, Plaintiff’s work with and around Blackmer
14
     Pumps caused the release of respirable asbestos which Plaintiff contends he inhaled.
15
     Inhalation of such respirable asbestos dust was a substantial factor in causing Plaintiff
16
     KENNETH KRANZ’s mesothelioma.
17
           e.     Plaintiff KENNETH KRANZ worked with and/or around asbestos-
18
     containing Cooper Bessemer Generators, Cooper Bessemer Diesel Engines, and
19
     Cooper Bessemer Oil Coolers which he contends CAMERON INTERNATIONAL
20
     CORPORATION f/k/a COOPER CAMERON CORPORATION (sued individually
21 and as successor-in-interest to THE COOPER-BESSEMER CORPORATION) is
22 legally responsible. As a Machinist’s Mate, Plaintiff’s work with and around Cooper
23 Bessemer Generators, Cooper Bessemer Diesel Engines, and Cooper Bessemer Oil
24 Coolers caused the release of respirable asbestos which Plaintiff contends he inhaled.
25 Inhalation of such respirable asbestos dust was a substantial factor in causing Plaintiff
26 KENNETH KRANZ’s mesothelioma.
27         f.     Plaintiff KENNETH KRANZ worked with and/or around asbestos-
28 containing Cla-Val Valves which he contends CLA-VAL CO. is legally responsible.
                                                                                      Page 15
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 1 As a Machinist’s Mate, Plaintiff’s work with and around Cla-Val Valves caused the
 2 release of respirable asbestos which Plaintiff contends he inhaled. Inhalation of such
 3 respirable asbestos dust was a substantial factor in causing Plaintiff KENNETH
 4 KRANZ’s mesothelioma.
 5         g.    Plaintiff KENNETH KRANZ worked with and/or around asbestos-
 6 containing Cranite Gaskets, Cranite Packing and Crane Valves which he contends
 7 CRANE CO. is legally responsible. As a Machinist’s Mate, Plaintiff’s work with and
 8 around Cranite Gaskets, Cranite Packing and Crane Valves caused the release of
 9 respirable asbestos which Plaintiff contends he inhaled. Inhalation of such respirable
     asbestos dust was a substantial factor in causing Plaintiff KENNETH KRANZ’s
10
     mesothelioma.
11
           h.    Plaintiff KENNETH KRANZ worked with and/or around asbestos-
12
     containing Elliott Deaerating Feed Systems and Elliott Condensers which he contends
13
     ELLIOTT COMPANY f/k/a and d/b/a ELLIOTT TURBOMACHINERY
14
     COMPANY is legally responsible. As a Machinist’s Mate, Plaintiff’s work with and
15
     around Elliott Deaerating Feed Systems and Elliott Condensers caused the release of
16
     respirable asbestos which Plaintiff contends he inhaled. Inhalation of such respirable
17
     asbestos dust was a substantial factor in causing Plaintiff KENNETH KRANZ’s
18
     mesothelioma.
19
           i.    Plaintiff KENNETH KRANZ worked with and/or around asbestos-
20
     containing Edward Valves which he contends FLOWSERVE US, INC. (sued as
21 successor to EDWARD VALVE, INC.) is legally responsible. As a Machinist’s Mate,
22 Plaintiff’s work with and around Edward Valves caused the release of respirable
23 asbestos which Plaintiff contends he inhaled. Inhalation of such respirable asbestos
24 dust was a substantial factor in causing Plaintiff KENNETH KRANZ’s mesothelioma.
25         j.    Plaintiff KENNETH KRANZ worked with and/or around asbestos-
26 containing Northern Pumps which he contends FMC CORPORATION (sued
27 individually and as successor-in-interest to NORTHERN PUMP COMPANY f/k/a
28 NORTHERN FIRE APPARATUS COMPANY) is legally responsible.                           As a
                                                                                    Page 16
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 1 Machinist’s Mate, Plaintiff’s work with and around Northern Pumps caused the release
 2 of respirable asbestos which Plaintiff contends he inhaled.          Inhalation of such
 3 respirable asbestos dust was a substantial factor in causing Plaintiff KENNETH
 4 KRANZ’s mesothelioma.
 5         k.    Plaintiff KENNETH KRANZ worked with and/or around asbestos-
 6 containing Gardner Denver Pumps which he contends GARDNER DENVER, INC.
 7 is legally responsible. As a Machinist’s Mate, Plaintiff’s work with and around
 8 Gardner Denver Pumps caused the release of respirable asbestos which Plaintiff
 9 contends he inhaled. Inhalation of such respirable asbestos dust was a substantial
     factor in causing Plaintiff KENNETH KRANZ’s mesothelioma.
10
           l.    Plaintiff KENNETH KRANZ worked with and/or around asbestos-
11
     containing General Electric Ships Service Generators which he contends GENERAL
12
     ELECTRIC COMPANY is legally responsible. As a Machinist’s Mate, Plaintiff’s
13
     work with and around General Electric Ships Service Generators caused the release of
14
     respirable asbestos which Plaintiff contends he inhaled. Inhalation of such respirable
15
     asbestos dust was a substantial factor in causing Plaintiff KENNETH KRANZ’s
16
     mesothelioma.
17
           m.    Plaintiff KENNETH KRANZ worked with and/or around asbestos-
18
     containing Cranite Gaskets and Cranite Packing which he contends THE
19
     GOODYEAR TIRE & RUBBER COMPANY is legally responsible.                           As a
20
     Machinist’s Mate, Plaintiff’s work with and around Cranite Gaskets and Cranite
21 Packing caused the release of respirable asbestos which Plaintiff contends he inhaled.
22 Inhalation of such respirable asbestos dust was a substantial factor in causing Plaintiff
23 KENNETH KRANZ’s mesothelioma.
24         n.    Plaintiff KENNETH KRANZ worked with and/or around asbestos-
25 containing Marinite Board and Micarta Board which he contends HOPEMAN
26 BROTHERS INC. supplied and is legally responsible.             As a Machinist’s Mate,
27 Plaintiff’s work with and around Marinite Board and Micarta Board caused the release
28 of respirable asbestos which Plaintiff contends he inhaled.          Inhalation of such
                                                                                    Page 17
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 1 respirable asbestos dust was a substantial factor in causing Plaintiff KENNETH
 2 KRANZ’s mesothelioma.
 3         o.     Plaintiff KENNETH KRANZ worked with and/or around asbestos-
 4 containing     Newport     News    Shipbuilding    Condensers     which    he   contends
 5 HUNTINGTON INGALLS INDUSTRIES, INC. f/k/a NORTHROP GRUMMAN
 6 SHIP SYSTEMS (sued individually and as successor-in-interest to NEWPORT NEWS
 7 SHIPBUILDING AND DRY DOCK COMPANY) is legally responsible.                          As a

 8 Machinist’s Mate, Plaintiff’s work with and around Newport News Shipbuilding
 9 Condensers caused the release of respirable asbestos which Plaintiff contends he
     inhaled. Inhalation of such respirable asbestos dust was a substantial factor in causing
10
     Plaintiff KENNETH KRANZ’s mesothelioma.
11
           p.     Plaintiff KENNETH KRANZ worked with and/or around asbestos-
12
     containing   Newport     News    Shipbuilding    Condensers     which    he   contends
13
     HUNTINGTON INGALLS INCORPORATED f/k/a NORTHROP GRUMMAN
14
     SHIP SYSTEMS (sued individually and as successor-in-interest to NEWPORT NEWS
15
     SHIPBUILDING AND DRY DOCK COMPANY) is legally responsible.                        As a
16
     Machinist’s Mate, Plaintiff’s work with and around Newport News Shipbuilding
17
     Condensers caused the release of respirable asbestos which Plaintiff contends he
18
     inhaled. Inhalation of such respirable asbestos dust was a substantial factor in causing
19
     Plaintiff KENNETH KRANZ’s mesothelioma.
20
           q.     Plaintiff KENNETH KRANZ worked with and/or around asbestos-
21 containing DeLaval Pumps, DeLaval Purifiers, C.H. Wheeler Tank Ejectors, and C.H.
22 Wheeler Air Ejectors which he contends IMO INDUSTRIES, INC. (sued individually
23 and as successor-in-interest to DELAVAL TURBINE, INC. and C. H. WHEELER
24 MANUFACTURING COMPANY) is legally responsible. As a Machinist’s Mate,
25 Plaintiff’s work with and around DeLaval Pumps, DeLaval Purifiers, C.H. Wheeler
26 Tank Ejectors, and C.H. Wheeler Air Ejectors caused the release of respirable asbestos
27 which Plaintiff contends he inhaled. Inhalation of such respirable asbestos dust was a
28 substantial factor in causing Plaintiff KENNETH KRANZ’s mesothelioma.
                                                                                     Page 18
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 1         r.    Plaintiff KENNETH KRANZ worked with and/or around asbestos-
 2 containing John Crane Gaskets and John Crane Packing which he contends JOHN
 3 CRANE, INC. is legally responsible. As a Machinist’s Mate, Plaintiff’s work with
 4 and around John Crane Gaskets and John Crane Packing caused the release of
 5 respirable asbestos which Plaintiff contends he inhaled. Inhalation of such respirable
 6 asbestos dust was a substantial factor in causing Plaintiff KENNETH KRANZ’s
 7 mesothelioma.
 8         s.    Plaintiff KENNETH KRANZ worked with and/or around contractors and

 9 asbestos-containing insulation products which he contends J.T. THORPE & SON,
     INC. is legally responsible. As a Machinist’s Mate, Plaintiff’s work with and around
10
     contractors employed by and asbestos-containing insulation products sold and/or
11
     supplied by J. T. THORPE & SON, INC. caused the release of respirable asbestos
12
     which Plaintiff contends he inhaled. Inhalation of such respirable asbestos dust was a
13
     substantial factor in causing Plaintiff KENNETH KRANZ’s mesothelioma.
14
           t.    Defendant METROPOLITAN LIFE INSURANCE COMPANY is
15
     being sued for intentionally withholding information concerning the hazards of
16
     asbestos and for conspiring with Johns Manville to create false studies that gave an
17
     inaccurate account of asbestos hazards. These inaccurate and false studies encouraged
18
     industry, including one or more of Defendants named herein, to continue using
19
     asbestos in Defendants’ Products and to resist the placement of asbestos warnings that
20
     would have informed workers and/or servicemen like Plaintiff KENNETH KRANZ to
21 take necessary precautions to protect themselves from respirable asbestos dust.
22       u.     Plaintiff KENNETH KRANZ worked with and/or around asbestos-
23 containing Westinghouse Pumps, Westinghouse Valves, Westinghouse Turbines,
24 Westinghouse Generators, Westinghouse Ships Service Generators, Westinghouse
25 Reduction      Gears,   Westinghouse     Air   Ejectors,   Westinghouse    Condensers,
26 Westinghouse Coolers, BF Sturtevant Pumps, BF Sturtevant Turbines, and BF
27 Sturtevant Forced Draft Blowers which he contends PARAMOUNT GLOBAL f/k/a
28 VIACOMCBS INC. f/k/a CBS CORPORATION f/k/a VIACOM, INC. successor-by-
                                                                                    Page 19
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 1 merger       to     CBS      CORPORATION       f/k/a    WESTINGHOUSE        ELECTRIC
 2 CORPORATION and as successor-in-interest to BF STURTEVANT) is legally
 3 responsible. As a Machinist’s Mate, Plaintiff’s work with and around Westinghouse
 4 Pumps, Westinghouse Valves, Westinghouse Turbines, Westinghouse Generators,
 5 Westinghouse         Ships    Service   Generators,    Westinghouse   Reduction   Gears,
 6 Westinghouse Air Ejectors, Westinghouse Condensers, Westinghouse Coolers, BF
 7 Sturtevant Pumps, BF Sturtevant Turbines, and BF Sturtevant Forced Draft Blowers
 8 caused the release of respirable asbestos which Plaintiff contends he inhaled.
 9 Inhalation of such respirable asbestos dust was a substantial factor in causing Plaintiff
     KENNETH KRANZ’s mesothelioma.
10
           v.        Plaintiff KENNETH KRANZ worked with and/or around asbestos-
11
     containing M.T. Davidson Pumps which he contends SUPERIOR-LIDGERWOOD-
12
     MUNDY CORPORATION (sued individually and as successor-in-interest to M.T.
13
     DAVIDSON COMPANY) is legally responsible. As a Machinist’s Mate, Plaintiff’s
14
     work with and around M.T. Davidson Pumps caused the release of respirable asbestos
15
     which Plaintiff contends he inhaled. Inhalation of such respirable asbestos dust was a
16
     substantial factor in causing Plaintiff KENNETH KRANZ’s mesothelioma.
17
           w.        Plaintiff KENNETH KRANZ worked with and/or around contractors and
18
     asbestos-containing insulation products which he contends SYD CARPENTER,
19
     MARINE CONTRACTOR, INC. is legally responsible. As a Machinist’s Mate,
20
     Plaintiff’s work with and around contractors employed by and asbestos-containing
21 insulation products sold and/or supplied by SYD CARPENTER, MARINE
22 CONTRACTOR, INC. caused the release of respirable asbestos which Plaintiff
23 contends he inhaled. Inhalation of such respirable asbestos dust was a substantial
24 factor in causing Plaintiff KENNETH KRANZ’s mesothelioma.
25         x.        Plaintiff KENNETH KRANZ worked with and/or around asbestos-
26 containing Taco Pumps which he contends TACO, INC. is legally responsible. As a
27 Machinist’s Mate, Plaintiff’s work with and around Taco Pumps caused the release of
28 respirable asbestos which Plaintiff contends he inhaled. Inhalation of such respirable
                                                                                     Page 20
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 1 asbestos dust was a substantial factor in causing Plaintiff KENNETH KRANZ’s
 2 mesothelioma.
 3         y.     Plaintiff KENNETH KRANZ worked with and/or around Defendants’
 4 Products that contained raw asbestos fibers supplied by UNION CARBIDE
 5 CORPORATION. Such work required sanding, grinding, abrasion, removal, and
 6 cleanup that created asbestos dust that Plaintiff inhaled. Inhalation of such respirable
 7 asbestos dust, which contained the asbestos fibers supplied by UNION CARBIDE
 8 CORPORATION, was a substantial factor in causing Plaintiff KENNETH KRANZ’s
 9 mesothelioma.
           z.     Plaintiff KENNETH KRANZ worked with and/or around asbestos-
10
     containing Waterbury Pumps which he contends UNISYS CORPORATION (sued
11
     individually and as successor-in-interest to WATERBURY TOOL COMPANY) is
12
     legally responsible.   As a Machinist’s Mate, Plaintiff’s work with and around
13
     Waterbury Pumps caused the release of respirable asbestos which Plaintiff contends he
14
     inhaled. Inhalation of such respirable asbestos dust was a substantial factor in causing
15
     Plaintiff KENNETH KRANZ’s mesothelioma.
16
           aa.    Plaintiff KENNETH KRANZ worked with and/or around asbestos-
17
     containing Velan Valves which he contends VELAN VALVE CORP. a/k/a VELAN
18
     VALVE CORPORATION is legally responsible. As a Machinist’s Mate, Plaintiff’s
19
     work with and around Velan Valves caused the release of respirable asbestos which
20
     Plaintiff contends he inhaled. Inhalation of such respirable asbestos dust was a
21 substantial factor in causing Plaintiff KENNETH KRANZ’s mesothelioma.
22       bb. Plaintiff KENNETH KRANZ worked with and/or around asbestos-
23 containing Griscom-Russell Distilling Plants and Griscom-Russell Fuel Oil Heaters
24 which he contends VIAD CORP f/k/a VIAD CORPORATION f/k/a THE DIAL
25 CORPORATION (sued individually and as successor-in-interest to GRISCOM-
26 RUSSELL COMPANY) is legally responsible. As a Machinist’s Mate, Plaintiff’s
27 work with and around Griscom-Russell Distilling Plants and Griscom-Russell Fuel Oil
28 Heaters caused the release of respirable asbestos which Plaintiff contends he inhaled.
                                                                                     Page 21
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 1 Inhalation of such respirable asbestos dust was a substantial factor in causing Plaintiff
 2 KENNETH KRANZ’s mesothelioma.
 3         cc.   Plaintiff KENNETH KRANZ worked with and/or around asbestos-
 4 containing Warren Pumps and Quimby Pumps which he contends WARREN
 5 PUMPS, LLC (sued individually and as successor-in-interest to QUIMBY PUMP
 6 COMPANY) is legally responsible. As a Machinist’s Mate, Plaintiff’s work with and
 7 around Warren Pumps and Quimby Pumps caused the release of respirable asbestos
 8 which Plaintiff contends he inhaled. Inhalation of such respirable asbestos dust was a
 9 substantial factor in causing Plaintiff KENNETH KRANZ’s mesothelioma.
           dd.   Plaintiff KENNETH KRANZ worked with and/or around asbestos-
10
     containing Atwood & Morrill Valves which he contends WEIR VALVES &
11
     CONTROLS USA, INC. f/k/a ATWOOD & MORRILL is legally responsible. As a
12
     Machinist’s Mate, Plaintiff’s work with and around Atwood & Morrill Valves caused
13
     the release of respirable asbestos which Plaintiff contends he inhaled. Inhalation of
14
     such respirable asbestos dust was a substantial factor in causing Plaintiff KENNETH
15
     KRANZ’s mesothelioma.
16
           ee.   Plaintiff KENNETH KRANZ worked with and/or around asbestos-
17
     containing Powell Valves which he contends THE WILLIAM POWELL
18
     COMPANY is legally responsible. As a Machinist’s Mate, Plaintiff’s work with and
19
     around Powell Valves caused the release of respirable asbestos which Plaintiff
20
     contends he inhaled. Inhalation of such respirable asbestos dust was a substantial
21 factor in causing Plaintiff KENNETH KRANZ’s mesothelioma.
22        39. At all times herein set forth, Defendants’ Products were being employed
23 in the manner and for the purposes for which they were intended.
24         40.   Plaintiff’s exposure to and inhalation, ingestion or absorption of asbestos
25 fibers emanating from the use of the Defendants’ Products was completely foreseeable
26 and could or should have been anticipated by the Defendants.
27         41.   The Defendants knew or should have known that the asbestos fibers
28 contained in Defendants’ Products had a toxic, poisonous, and highly deleterious effect
                                                                                    Page 22
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 1 upon the health of persons inhaling or otherwise absorbing them.
 2         42.    Plaintiff KENNETH KRANZ was first diagnosed with mesothelioma on
 3 approximately February 23, 2022, and subsequently thereto became aware that the
 4 same was wrongfully caused. As a result of developing mesothelioma, Plaintiff has
 5 since endured great physical pain and suffering, mental anguish, emotional pain and
 6 suffering, and loss of enjoyment of life. As a result of Defendants’ wrongful conduct,
 7 Plaintiff was required to receive medical treatment to mitigate his asbestos-related
 8 mesothelioma, incurring reasonable and necessary costs for his medical care, diagnosis
 9 and treatment. Further, as a result of Defendants’ wrongful conduct, Plaintiffs have
     incurred a substantial loss of income.
10
           43.    As a result of Defendants’ wrongful conduct which caused Plaintiff
11
     KENNETH KRANZ’s asbestos-related mesothelioma, his spouse, Plaintiff LUCINDA
12
     KRANZ, has suffered, and will continue to suffer, a loss of society, as well as related
13
     mental anguish and grief.
14
           WHEREFORE, Plaintiffs pray for judgment against Defendants, their “alternate
15
     entities,” and each of them, as hereinafter set forth.
16
                                 FIRST CAUSE OF ACTION
17
                                         NEGLIGENCE
18
           AGAINST ALL DEFENDANTS EXCEPT METROPOLITAN LIFE
19                        INSURANCE COMPANY
20     PLAINTIFFS COMPLAIN OF DEFENDANTS AND DOES 1-450, THEIR
   “ALTERNATE ENTITIES,” AND EACH OF THEM, AND FOR A CAUSE OF
21
   ACTION FOR NEGLIGENCE ALLEGE AS FOLLOWS:
22
           44.    Plaintiffs reallege the preceding paragraphs as if fully set forth herein and,
23
     to the extent necessary, plead this cause of action in the alternative.
24
           45.    At all times herein mentioned, each of the named Defendants and DOES
25
     1 through 450 were the successor, successor-in-business, successor-in-product line or
26
     a portion thereof, parent, subsidiary, wholly or partially owned by, or the whole or
27
     partial owner of or member in an entity researching, studying, manufacturing,
28
     fabricating, designing, modifying, labeling, assembling, distributing, leasing, buying,
                                                                                        Page 23
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 1 offering for sale, supplying, selling, inspecting, servicing, installing, contracting for
 2 installation, repairing, marketing, warranting, re-branding, manufacturing for others,
 3 packaging and advertising Defendants’ Products including, but not limited to, those
 4 Products previously identified in paragraph 38.         Said entities shall hereinafter
 5 collectively be called “alternate entities.” Each of the herein named Defendants is
 6 liable for the tortious conduct of each successor, successor-in-business, successor-in-
 7 product line or a portion thereof, assign, predecessor in product line or a portion
 8 thereof, parent, subsidiary, whole or partial owner, or wholly or partially owned entity,
 9 or entity that it was a member of, or funded, that researched, repaired, marketed,
10 warranted, re-branded, manufactured for others and advertised Defendants’ Products.
11 The following Defendants, and each of them, are liable for the acts of each and every
12 “alternate entity” and each of them, in that there has been a virtual destruction of
13 Plaintiffs’ remedy against each such “alternate entity;” Defendants, and each of them,
14 have acquired the assets, product line, or a portion thereof, of each such “alternate
15 entity;” Defendants, and each of them, have caused the destruction of Plaintiffs’
16 remedy against each such “alternate entity;” each such Defendant has the ability to
17 assume the risk-spreading role of each such “alternate entity;” and that each such
18 Defendant enjoys the goodwill originally attached to each such “alternate entity.”
19 DEFENDANT                                      ALTERNATE ENTITY
20 AIR AND LIQUID SYSTEMS                         BUFFALO PUMPS, INC.
     CORPORATION
21
     ALFA LAVAL, INC.                             THE DELAVAL SEPARATOR
22                                                COMPANY
23                                                SHARPLES, INC.
                                                  ALFA-LAVAL SEPARATION, INC.
24
25 CAMERON INTERNATIONAL                          COOPER CAMERON
     CORPORATION                                  COOPER BESSEMER
26                                                CORPORATION
27                                                JOY MANUFACTURING COMPANY
                                                  COOPER TURBOCOMPRESSOR
28                                                INC.
                                                                                    Page 24
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 1
 2
     CRANE CO.                              CRANE ENVIRONMENTAL
                                            CRANE PUMPS AND SYSTEMS
 3                                          VALVE SERVICES
 4
                                            CRANE VALVE GROUP
                                            CRANE SUPPLY
 5                                          CHAPMAN VALVE CO.
 6                                          DEMING PUMPS
                                            JENKINS VALVES
 7                                          COCHRANE FEED TANKS
 8                                          COCHRANE DIVISION
                                            COCHRANE CORPORATION
 9                                          CHEMPUMP
10                                          THE SWARWOUT COMPANY
                                            NATIONAL-US RADIATOR
11
     ELLIOTT COMPANY
12 COMPANY
                                            ELLIOTT TURBOMACHINERY

13
14 FLOWSERVE US, INC.                       WILSON SNYDER PUMPS
                                            EDWARD VALVE, INC.
15                                          VOGT VALVES
16                                          BW/IP INTERNATIONAL, INC.
                                            BYRON JACKSON PUMP
17                                          COMPANY
18                                          KAMMER VALVE

19 FMC CORPORATION                          PEERLESS PUMP COMPANY
                                            McNALLY INDUSTRIES
20                                          NORTHERN PUMP
                                            FMC AGRICULTURAL PRODUCTS
21                                          FMC BIOPOLYMER
                                            FMC LITHIUM
22                                          FMC ALKALI CHEMICALS
                                            FMC FORET
23                                          NORTHERN PUMP COMPANY
                                            NORTHERN FIRE APPARATUS
24                                          COMPANY
                                            CHICAGO PUMP COMPANY
25                                          CROSBY VALVE, INC.
26 GARDNER DENVER, INC.                     GARDNER GOVERNOR
                                            CORPORATION
27                                          GARDNER COMPANY
                                            GARDNER DENVER INDUSTRIAL
28                                          MACHINERY
                                            COOPER INDUSTRIES, INC.
                                                                           Page 25
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 1                                          SYLTONE PLC
                                            TAMROTOR
 2                                          GEOQUIP
                                            CHAMPION PNEUMATIC
 3                                          MACHINERY
                                            WITTIG
 4                                          ALLEN-STUART EQUIPMENT
                                            COMPANY
 5                                          AIR RELIEF
                                            BUTTERWORTH JETTING
 6                                          SYSTEMS
                                            INVINCIBLE AIRFLOW SYSTEMS
 7                                          HAMWORTHY BELISS & MORCOM
                                            HOFFMAN AIR AND FILTRATION
 8                                          SYSTEMS
                                            JOY MANUFACTURING COMPANY
 9
     GENERAL ELECTRIC COMPANY               GENERAL ELECTRIC
10                                          BROADCASTING
                                            COMPANY, INC.
11                                          GENERAL ELECTRIC CAPITAL
                                            ASSURANCE COMPANY
12                                          GENERAL ELECTRIC
                                            PROFESSIONAL
13                                          SERVICES COMPANY
                                            GENERAL ELECTRIC TRADING
14                                          COMPANY
                                            CROWN COACH CORPORATION
15
     GOODYEAR TIRE & RUBBER                 DUNLOP
16 COMPANY                                  KELLY TIRES
                                            $AVA
17                                          FULDA
                                            US INDUSTRIES SUPPLY
18                                          DURABLA GASKETS
19 HOPEMAN BROTHERS INC.                    HOPEMAN BROTHERS MARINE
20
                                            INTERIORS

21 HUNTINGTON INGALLS INDUSTRIES, NORTHROP GRUMMAN SHIP
     INC.                                   SYSTEMS
22                                          NEWPORT NEWS SHIPBUILDING
                                            AND DRY DOCK COMPANY
23
   HUNTINGTON INGALLS                       NORTHROP GRUMMAN SHIP
24 INCORPORATED                             SYSTEMS
                                            NEWPORT NEWS SHIPBUILDING
25                                          AND DRY DOCK COMPANY
26 IMO INDUSTRIES, INC.                     DELAVAL TURBINE INC.
                                            WARREN PUMPS, INC.
27                                          COLFAX CORPORATION
                                            IMO PUMP
28                                          IMO AB
                                            COLFAX PUMP GROUP
                                                                           Page 26
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 1                                          ALLWEILER
                                            HOUTTUIN
 2                                          C. H. WHEELER
                                            C. H. WHEELER MANUFACTURING
 3                                          COMPANY
                                            ADEL FASTENERS AND WIGGINS
 4                                          CONNECTORS
 5 JOHN CRANE, INC.                         JOHN CRANE-HOUDAILLE, INC.
 6
                                            HOUDAILLE JOHN CRANE, INC.

 7 PARAMOUNT GLOBAL                         VIACOMCBS INC.
                                            CBS CORPORATION
 8                                          VIACOM INC.
                                            WESTINGHOUSE ELECTRIC
 9                                          CORPORATION
                                            BF STURTEVANT
10                                          VIACOM INTERNATIONAL, INC.
                                            VIACOM PLUS
11
12 SUPERIOR-LIDGERWOOD-MUNDY                M.T. DAVIDSON COMPANY
     CORPORATION
13
     UNION CARBIDE CORPORATION              THE DOW CHEMICAL COMPANY
14                                          UNION CARBIDE CHEMICALS AND
15
                                            PLASTICS COMPANY, INC.
                                            UNION CARBIDE AND CARBON
16                                          CORPORATION
17                                          LINDE AIR PRODUCTS COMPANY
                                            NATIONAL CARBON CO., INC.
18                                          PREST-O-LITE CO., INC.
19                                          UNION CARBIDE COMPANY
                                            CARBIDE AND CARBON
20                                          CHEMICALS
21                                          CORPORATION
                                            BAKELITE CORPORATION
22                                          UNION CARBIDE CONSUMER
23                                          PRODUCTS CO.
                                            UNION CARBIDE MINING AND
24                                          METALS DIVISION
25                                          UNION CARBIDE ELECTRONICS
                                            DIVISION
26                                          UNION CARBIDE HYDROCARBONS
27                                          DIVISION
                                            UNION CARBIDE FERROALLOYS
28                                          DIVISION
                                                                           Page 27
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 1                                                JENNAT CORPORATION
 2
                                                  AMERCHOL CORPORATION
                                                  UOP
 3                                                UCAR CARBON COMPANY
 4
                                                  UNION CARBIDE INDUSTRIAL
                                                  GASES INC.
 5                                                PRAXAIR, INC.
 6                                                POLIMERI EUROPA S.r.l.
                                                  ASIAN ACETYLS COMPANY, LTD.
 7                                                EQUATE PETROCHEMICAL
 8                                                COMPANY

 9 UNISYS CORPORATION                             WATERBURY TOOL COMPANY
10 VELAN VALVE CORP.                              VELAN VALVE CORPORATION
11 VIAD CORPORATION                               THE DIAL CORPORATION
                                                  GRISCOM-RUSSELL COMPANY
12
     WARREN PUMPS LLC                             WARREN PUMPS INC.
13                                                WARREN PUMPS-HOUDAILLE,
                                                  INC.
14                                                COLFAX PUMP GROUP
                                                  ALWEILER AG
15                                                HOUTTUIN BV
                                                  IMO PUMP
16                                                ZENITH PUMPS
                                                  QUIMBY PUMP CO.
17
     WEIR VALVE & CONTROLS USA, INC. ATWOOD & MORRILL
18
19 THE WILLIAM POWELL COMPANY                     POWELL VALVES
                                                  HOPHOLD A & M, INC.
20
21        46.    At all times herein mentioned, Defendants, their “alternate entities,” and
22 each of them were and are engaged in the business of researching, manufacturing,
23 fabricating, designing, modifying, labeling, assembling, distributing, leasing, buying,
24 offering for sale, supplying, selling, inspecting, servicing, installing, contracting for
25 installation, repairing, renting, marketing, warranting, re-branding, manufacturing for
26 others, packaging, and advertising Defendants’ Products.
27        47.    At all times herein mentioned, Defendants, their “alternate entities,” and
28 each of them singularly and jointly, negligently and carelessly researched,
                                                                                    Page 28
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 1 manufactured, fabricated, specified, designed, modified, tested or failed to test, abated
 2 or failed to abate, warned or failed to warn of the health hazards, failed to recall and/or
 3 retrofit, labeled, assembled, distributed, leased, bought, rented, offered for sale,
 4 supplied, sold, inspected, serviced, installed, contracted for installation, repaired,
 5 marketed, warranted, re-branded, manufactured for others, packaged, and advertised
 6 Defendants’ Products including, but not limited to, those Products identified in
 7 paragraph 38 above, in that the Defendants’ Products were unreasonably dangerous
 8 because they released respirable asbestos fibers which resulted in personal injuries to
 9 users, consumers, workers, bystanders, household members, and others, including
     Plaintiff KENNETH KRANZ herein. Defendants’ Products were used at all times in
10
     a manner that was reasonably foreseeable to Defendants, their “alternate entities,” and
11
     each of them, thereby rendering Defendants’ Products unsafe and dangerous for use by
12
     “exposed persons.”      Plaintiffs herein allege that Plaintiff KENNETH KRANZ’s
13
     exposures to Defendants’ Products including, but not limited to, those products
14
     identified in paragraph 38 above, were a substantial contributing factor in the
15
     development of his mesothelioma and therefore proximately caused Plaintiff’s
16
     illnesses, injuries, disabilities, and damages.
17
           48.    Defendants, their “alternate entities,” and each of them, had a duty to
18
     exercise reasonable care while engaging in the activities mentioned above and each
19
     Defendant breached said duty of reasonable care in that Defendants, and each of them
20
     failed to safely and adequately design, manufacture and/or sell Defendants’ Products;
21 failed to test Defendants’ Products; failed to investigate the hazards of Defendants’
22 Products; failed to warn “exposed persons” including Plaintiff KENNETH KRANZ,
23 of the health hazards of working with and using Defendants’ Products; failed to
24 disclose the known or knowable dangers of working with and using Defendants’
25 Products; failed to warn of the harmful exposures caused by use of Defendants’
26 Products; failed to obtain suitable alternative materials to asbestos when such
27 alternatives were available; and as otherwise stated herein.
28         49.    Defendants’ Products were and are hazardous to the health and
                                                                                      Page 29
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 1 safety of Plaintiff, and others in Plaintiff’s position working with, manipulating, and in
 2 close proximity to Defendants’ Products, and since on or before 1930, the hazards and
 3 dangerous propensities of Defendants’ Products were both known and knowable to the
 4 Defendants, their “alternate entities,” and each of them, through the use of medical
 5 and/or scientific data and other knowledge available to Defendants, their “alternate
 6 entities,” and each of them, at the time of Defendants’ manufacture, distribution, sale,
 7 research, study, fabrication, design, modification, labeling, assembly, leasing, buying,
 8 offering for sale, supply, inspection, service, installation, contracting for installation,
 9 repair, marketing, warranting, re-branding, re-manufacturing for others, packaging and
     advertising of Defendants’ Products which clearly indicated the hazards and dangerous
10
     propensities of asbestos presented a substantial danger to workers, users, handlers, and
11
     bystanders, including Plaintiff KENNETH KRANZ, of Defendants’ Products through
12
     the intended and reasonably foreseeable use of Defendants’ Products.
13
           50.    Defendants, their “alternate entities,” and each of them knew, or
14
     reasonably should have known, that Defendants’ Products were dangerous and were
15
     likely to be dangerous when used in their intended and reasonably foreseeable manner.
16
           51.    Defendants, their “alternate entities,” and each of them knew, or
17
     reasonably should have known, that Defendants’ Products would be used, worked with,
18
     swept, handled, applied, and/or otherwise disturbed in their ordinary, intended and
19
     foreseeable use, resulting in the release of airborne hazardous and dangerous asbestos
20
     fibers, and that through such activity, “exposed persons” including Plaintiff
21 KENNETH KRANZ herein, would be exposed to hazardous and dangerous asbestos
22 fibers. Defendants, their “alternate entities,” and each of them knew or reasonably
23 should have known that workers, users, and bystanders such as Plaintiff KENNETH
24 KRANZ, and others in his position working with, manipulating, and in close proximity
25 to or otherwise exposed to dust from Defendants’ Products, would not realize or know
26 the dangers. Defendants, their “alternate entities,” and each of them negligently failed
27 to adequately warn or instruct of the dangers of Defendants’ Products and failed to
28 recall and/or retrofit Defendants’ Products. A reasonable designer, manufacturer,
                                                                                      Page 30
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 1 distributor, seller, installer, buyer or supplier, under the same or similar circumstances,
 2 would have warned of the dangers to avoid exposing others to a foreseeable risk of
 3 harm. The negligent failure of Defendants, their “alternate entities,” and each of them,
 4 to warn was a substantial factor in causing harm to Plaintiff KENNETH KRANZ.
 5         52.    Plaintiff KENNETH KRANZ worked with, handled, applied, or was
 6 otherwise exposed to asbestos from Defendants’ Products referred to herein in a
 7 manner that was reasonably foreseeable to Defendants, and each of them.
 8          53.   As a direct and proximate result of the conduct of the Defendants, their

 9 “alternate entities,” and each of them as aforesaid, Plaintiff KENNETH KRANZ’s
     exposure to asbestos from working with and around others working with Defendant’s
10
     Products caused severe and permanent injury to the Plaintiff. Plaintiffs are informed
11
     and believe, and thereon allege, that progressive lung disease, cancer and other serious
12
     diseases are caused by inhalation of asbestos fibers without perceptible trauma and that
13
     said diseases result from exposure to Defendants’ Products over a period of time.
14
           54.    Plaintiff KENNETH KRANZ suffers from malignant mesothelioma
15
     caused by exposure to asbestos from Defendants’ Products and/or from the use of
16
     Defendants’ Products including those products identified in paragraph 38 above.
17
     Plaintiff was not aware at the time of his exposures that Defendants’ Products presented
18
     any risk of injury and/or disease.
19
           55.    As a direct and proximate result of the aforesaid conduct of Defendants,
20
     their “alternate entities,” and each of them, Plaintiff KENNETH KRANZ has suffered
21 and will continue to suffer pain, discomfort, loss of weight, loss of appetite, fatigue,
22 somnolence, lethargy, dyspnea, dysphagia, and other physical symptoms, and the
23 mental and emotional distress attendant thereto, as Plaintiff’s malignant mesothelioma
24 progresses, all to his general damage in a sum in excess of the jurisdictional limits of a
25 limited civil case.
26         56.    As a direct result and proximate result of the aforesaid conduct of the
27 Defendants, their “alternate entities,” and each of them, Plaintiff KENNETH KRANZ
28 has incurred, is presently incurring, and will incur in the future liability for physicians,
                                                                                       Page 31
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 1 surgeons, nurses, hospital care, medicine, hospices, X-rays and other medical
 2 treatment, the true and exact amount thereof being presently unknown to Plaintiffs,
 3 subject to proof at trial.
 4         57.   As a further direct and proximate result of the said conduct of the
 5 Defendants, their “alternate entities,” and each of them, Plaintiffs have incurred and
 6 will incur of income, wages, profits and commissions, a diminishment of earning
 7 potential, and other pecuniary losses, the true and exact amount thereof being presently
 8 unknown to Plaintiffs, subject to proof at trial.
 9         58.   Plaintiffs further allege that Defendants, their “alternate entities,” and
     each of them also engaged in the following wrongful acts which support Plaintiffs’
10
     prayer for punitive damages:
11
           a.    Defendants, their “alternate entities,” and each of them suppressed from
12
     all workers, users, handlers, and bystanders, including Plaintiff KENNETH KRANZ,
13
     medical and scientific information concerning the health hazards associated with
14
     inhalation of asbestos, including the substantial risk of injury or death therefrom.
15
     Although Defendants, and each of them knew of the substantial risks associated with
16
     exposure to asbestos, they willfully and knowingly concealed such information of
17
     Defendants’ Products from workers, users, handlers, and bystanders in conscious
18
     disregard of the rights, safety and welfare of “exposed persons” including Plaintiff
19
     KENNETH KRANZ;
20
           b.    Defendants, their “alternate entities,” and each of them belonged to,
21 participated in, and financially supported industry organizations including, but not
22 limited to, the Gypsum Association, Asbestos Information Association, Industrial
23 Hygiene Foundation and others, which for and on behalf of Defendants, their “alternate
24 entities,” and each of them actively promoted the suppression of information about the
25 dangers of asbestos to workers, users, handlers, and bystanders of Defendants’
26 Products, thereby misleading Plaintiff KENNETH KRANZ as to the safety of
27 Defendants’ Products. Through their participation and association with such industry
28 organizations, Defendants and each of them knowingly and deliberately concealed and
                                                                                       Page 32
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 1 suppressed the true information regarding asbestos and its dangers, and propagated
 2 misinformation intended to instill in workers, users and handlers of Defendants’
 3 Products a false security about the safety of Defendants’ Products. The Dust Control
 4 Committee, which changed its name to the Air Hygiene Committee of the Asbestos
 5 Textile Institute, was specifically enlisted to study the subject of dust control.
 6 Discussions in this committee were held many times regarding the dangers inherent in
 7 asbestos and the dangers which arise from the lack of control of dust, and such
 8 information was suppressed from public dissemination from 1946 to a date unknown
 9 to Plaintiffs at this time;
           c.      Commencing in 1930 with the study of mine and mill workers at Asbestos
10
     and Thetford Mines in Quebec, Canada, and the study of the workers at Raybestos-
11
     Manhattan plants in Manheim and Charleston, South Carolina, Defendants, their
12
     “alternate entities,” and each of them knew and possessed medical and scientific
13
     information of the connection between the inhalation of asbestos fibers and asbestosis,
14
     which information was disseminated through the Asbestos Textile Institute and other
15
     industry organizations to all other Defendants, their “alternate entities,” and each of
16
     them herein. Between 1942 and 1950, the Defendants, their “alternate entities,” and
17
     each of them failed to provide this information to workers, users, handlers, and/or
18
     bystanders;
19
           d.      Defendants, their “alternate entities,” and each of them failed to warn
20
     Plaintiff KENNETH KRANZ and others of the nature of Defendants’ Products which
21 were dangerous when breathed and which could cause pathological effects without
22 noticeable trauma, despite the fact that Defendants, their “alternate entities,” and each
23 of them possessed knowledge and were under a duty to disclose that Defendants’
24 Products were dangerous and a threat to the health of persons coming into contact
25 therewith;
26         e.      Defendants, their “alternate entities,” and each of them, failed to provide
27 Plaintiff KENNETH KRANZ with information concerning adequate protective masks
28 and other equipment devised to be used when working with and maniputlating
                                                                                       Page 33
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 1 Defendants’ Products, and/or from the use of Defendants’ Products, their “alternate
 2 entities,” and each of them, despite knowing that such protective measures were
 3 necessary, and that they were under a duty to disclose that Defendants’ Products were
 4 dangerous and would result in injury to Plaintiff KENNETH KRANZ and others
 5 working with, using and manipulating Defendants’ Products;
 6         f.     Defendants, their “alternate entities,” and each of them knew and failed
 7 to disclose that Plaintiff KENNETH KRANZ and anyone similarly situated, upon
 8 inhalation of asbestos would, in time, have a substantial risk of developing irreversible
 9 conditions of pneumoconiosis, asbestosis, mesothelioma and/or cancer;
           g.     Defendants, their “alternate entities,” and each of them failed to provide
10
     information of the true nature of the hazards of Defendants’ Products and that exposure
11
     to Defendants’ Products would cause pathological effects without noticeable trauma to
12
     the public, including physicians employed by Plaintiff KENNETH KRANZ, so that
13
     said physicians could not examine, diagnose, and treat Plaintiff and others who were
14
     exposed to asbestos, despite the fact that Defendants, their “alternate entities,” and each
15
     of them were under a duty to so inform and said failure was misleading.
16
           59.    Defendants, their “alternate entities,” and each of them, and
17
     their officers, directors, and managing agents participated in, authorized, expressly and
18
     impliedly ratified, and had full knowledge of, or should have known of, each of the
19
     acts set forth herein. Defendants, their “alternate entities,” and each of them are liable
20
     for the oppressive and malicious acts of their “alternate entities,” and each of them,
21 and each Defendant’s officers, directors, and managing agents participated in,
22 authorized, expressly and impliedly ratified, and had full knowledge of or should have
23 known of the acts of each of their “alternate entities” as set forth herein.
24         60.    The herein-described conduct of said Defendants, their “alternate
25 entities,” and each of them was and is willful, malicious, oppressive, outrageous, and
26 in conscious disregard and indifference to the safety and health of “exposed persons,”
27 including Plaintiff KENNETH KRANZ, in that Defendants and each of them
28 continued to manufacture, market and/or sell dangerous Defendants’ Products known
                                                                                        Page 34
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 1 to cause asbestos to be released and to cause severe, permanent injuries and death,
 2 despite possessing knowledge of the substantial hazards posed by the use of
 3 Defendants’ Products in order to continue to profit financially therefrom. Defendants,
 4 their “alternate entities,” and each of them engaged in such conduct so despicable,
 5 contemptible, base, vile, miserable, wretched and loathsome as to be looked down upon
 6 and despised by ordinary people and justifies an award of punitive and exemplary
 7 damages pursuant to Civil Code Section 3294. Plaintiffs, for the sake of example and
 8 by way of punishing said Defendants, seek punitive damages according to proof.
 9             61.   Defendants, and each of them engaged in conduct which was intended by
     Defendants to cause injury to the Plaintiffs, and despicable conduct which was carried
10
     on by the Defendants with a willful and conscious disregard of the rights or safety of
11
     others, including Plaintiff KENNETH KRANZ.
12
               62.   Defendants, and each of them, engaged in the despicable conduct
13
     described herein that subjected persons, including Plaintiff KENNETH KRANZ, to
14
     cruel and unjust hardship in the form of severe, debilitating and fatal diseases like
15
     asbestosis, lung cancer and mesothelioma, in conscious disregard of those persons’
16
     rights.
17
               63.   As a result of developing mesothelioma, Plaintiff KENNETH KRANZ
18
     has endured great physical pain and suffering, mental anguish, emotional pain and
19
     suffering, and loss of enjoyment of life. As a result of Defendants’ wrongful conduct,
20
     Plaintiff was required to receive medical treatment to mitigate his asbestos-related
21 mesothelioma, incurring reasonable and necessary costs for his medical care, diagnosis
22 and treatment. Further, as a result of Defendants’ wrongful conduct, Plaintiffs have
23 incurred a substantial loss of income.
24             64.   As a result of Defendants’ wrongful conduct which caused Plaintiff
25 KENNETH KRANZ’s asbestos-related mesothelioma, his spouse, Plaintiff LUCINDA
26 KRANZ, has suffered, and will continue to suffer, a loss of society, as well as related
27 mental anguish and grief.
28             WHEREFORE, Plaintiffs pray for judgment against Defendants, their “alternate
                                                                                       Page 35
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 1 entities,” and each of them, as hereinafter set forth.
 2                                 SECOND CAUSE OF ACTION
 3                                       STRICT LIABILITY
 4            AGAINST ALL DEFENDANTS EXCEPT METROPOLITAN LIFE
                           INSURANCE COMPANY
 5
 6     AS AND FOR A SECOND, SEPARATE, FURTHER AND DISTINCT
   CAUSE OF ACTION FOR STRICT LIABILITY, PLAINTIFFS COMPLAIN OF
 7
   DEFENDANTS, DOES 1-450, THEIR “ALTERNATE ENTITIES,” AND EACH OF
 8 THEM, AND ALLEGE AS FOLLOWS:
 9
           65.    Plaintiffs incorporate herein by reference, as though fully set forth therein,
10 each and every one of the general allegations and the allegations contained in the First
11 Cause of Action herein.
12         66.    Strict Liability - Manufacturing Defect: All Defendants, and the 1st
13 through 450th Doe Defendants, are strictly liable under manufacturing defect.
14 Defendants and Does manufactured, sold, supplied, designed, or distributed
15 Defendants’ Products. The defects existed in all of Defendants’ Products when they
16 left the possession of the Defendants, their “alternate entities,” and each of them. These
17 defects were a substantial factor in causing harm to Plaintiff KENNETH KRANZ.
18         67.    Strict Liability - Design Defect - Consumer Expectations: All
19 Defendants, and the 1st through 450th Doe Defendants, are strictly liable under the
20 consumer-expectations test for placing defectively designed products into the stream
21 of commerce and ultimately exposing Plaintiff KENNETH KRANZ to asbestos from
22 Defendants’ Products. First, Defendants designed, manufactured, supplied, marketed,
23 distributed, and sold Defendants’ Products. Second, each Product did not perform as
24 safely as an ordinary worker and/or consumer would have expected it to perform when
     used or misused in an intended or reasonably foreseeable way, because each Product
25
     caused hazardous asbestos to become airborne thereby exposing Plaintiff to asbestos.
26
     Third, Plaintiff developed mesothelioma. Fourth, each Product’s failure to perform
27
     safely was a substantial factor in causing Plaintiff’s mesothelioma.
28
                                                                                        Page 36
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 1         68.    Strict Liability – Design Defect – Risk/Benefit: All Defendants, and the
 2 1st through 450th Doe Defendants, are strictly liable under risk/benefit. Defendants,
 3 their alternate entities and Does manufactured, sold, supplied, designed, or distributed
 4 Defendants’ Products. These defects were a substantial factor in causing harm to the
 5 Plaintiff.
 6         69.    Strict Liability – Failure to Warn: Defendants, their “alternate entities,”
 7 and each of them sold Defendants’ Products, which were defective in that they failed
 8 to adequately warn or instruct of the known and knowable dangers and risks of the
 9 ordinary, intended, and foreseeable use of Defendants’ Products, which dangers and
     risks would not have been and were not recognized by ordinary workers and users of
10
     the Products, including Plaintiff KENNETH KRANZ, and the lack of sufficient
11
     instructions and/or warnings was a substantial factor in causing harm to Plaintiff
12
     KENNETH KRANZ and others in Plaintiff’s position who were working with and in
13
     close proximity to Defendants’ Products.
14
           70.    Defendants’ Products were defective and unsafe for their intended
15
     purpose and foreseeable use in that when worked with, used, handled, swept, or
16
     otherwise disturbed, Defendants’ Products would result in the release, and therefore
17
     inhalation of, hazardous and dangerous asbestos fibers by exposed persons, including
18
     Plaintiff KENNETH KRANZ. These defects existed in all of Defendants’ Products
19
     when they left the possession of the Defendants, their “alternate entities,” and each of
20
     them. At the time Defendants’ Products were used by Plaintiff KENNETH KRANZ
21 and others in his position working with, manipulating, and in close proximity to or
22 otherwise exposed to dust from Defendants’ Products, Defendants’ Products were
23 substantially the same as when they left the possession of the Defendants, their
24 “alternate entities,” and each of them, and/or any changes made to Defendants’
25 Products after they left the possession of Defendants, their “alternate entities,” and each
26 of them were reasonably foreseeable to Defendants, their “alternate entities,” and each
27 of them. Defendants’ Products were used by Plaintiff KENNETH KRANZ and others
28 in his position working with, manipulating, and in close proximity to or otherwise
                                                                                      Page 37
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 1 exposed to dust from Defendants’ Products in a way that was reasonably foreseeable
 2 to Defendants and each of them. The defect in Defendants’ Products was a substantial
 3 factor in causing harm and personal injuries to Plaintiff KENNETH KRANZ, including
 4 malignant mesothelioma, while being used in a reasonably foreseeable manner, thereby
 5 rendering Defendants’ Products defective, unsafe, and unreasonably dangerous for
 6 their ordinary and intended use.
 7         71.    As a result of developing mesothelioma, Plaintiff KENNETH KRANZ

 8 has endured great physical pain and suffering, mental anguish, emotional pain and
 9 suffering, and loss of enjoyment of life. As a result of Defendants’ wrongful conduct,
     Plaintiff was required to receive medical treatment to mitigate his asbestos-related
10
     mesothelioma, incurring reasonable and necessary costs for his medical care, diagnosis
11
     and treatment. Further, as a result of Defendants’ wrongful conduct, Plaintiffs have
12
     incurred a substantial loss of income.
13
           72.    As a result of Defendants’ wrongful conduct which caused Plaintiff
14
     KENNETH KRANZ’s asbestos-related mesothelioma, his spouse, Plaintiff LUCINDA
15
     KRANZ, has suffered, and will continue to suffer, a loss of society, as well as related
16
     mental anguish and grief.
17
           WHEREFORE, Plaintiffs pray for judgment against Defendants, their “alternate
18
     entities,” and each of them, as hereinafter set forth.
19
                                 THIRD CAUSE OF ACTION
20
                                 BREACH OF WARRANTY
21
                       AGAINST ALL DEFENDANTS EXCEPT
22                  METROPOLITAN LIFE INSURANCE COMPANY
23
       AS AND FOR A THIRD, SEPARATE, FURTHER AND DISTINCT CAUSE
24 OF  ACTION  FOR STRICT LIABILITY, PLAINTIFFS COMPLAIN OF
   DEFENDANTS, DOES 1-450, THEIR “ALTERNATE ENTITIES,” AND EACH OF
25 THEM, AND ALLEGE AS FOLLOWS:
26        73. Plaintiffs incorporate herein by reference, as though fully set forth
27 therein, each and every one of the general allegations and the allegations contained in
28 the First and Second Causes of Action herein.
                                                                                    Page 38
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 1         74.    Defendants caused Plaintiffs’ injuries and damages as stated above by
 2 manufacturing, selling, installing, and distributing Defendants’ Products which
 3 failed to meet express and implied warranties of merchantability and fitness for
 4 intended purposes upon which Plaintiff KENNETH KRANZ had a right to rely and
 5 did rely.
 6         75.    As a result of developing mesothelioma, Plaintiff KENNETH KRANZ
 7 has endured great physical pain and suffering, mental anguish, emotional pain and
 8 suffering, and loss of enjoyment of life. As a result of Defendants’ wrongful conduct,
 9 Plaintiff was required to receive medical treatment to mitigate his asbestos-related
10 mesothelioma, incurring reasonable and necessary costs for his medical care, diagnosis
11 and treatment. Further, as a result of Defendants’ wrongful conduct, Plaintiffs have
12 incurred a substantial loss of income.
13         76.    As a result of Defendants’ wrongful conduct which caused Plaintiff
14 KENNETH KRANZ’s asbestos-related mesothelioma, his spouse, Plaintiff LUCINDA
15 KRANZ, has suffered, and will continue to suffer, a loss of society, as well as related
16 mental anguish and grief.
17         WHEREFORE, Plaintiffs pray for judgment against Defendants, their “alternate
18 entities,” and each of them, as hereinafter set forth.
19                                FOURTH CAUSE OF ACTION
20 CONSPIRACY AGAINST METROPOLITAN LIFE INSURANCE COMPANY
21     AS AND FOR A FURTHER FOURTH, SEPARATE, AND DISTINCT
   CAUSE OF ACTION FOR CONSPIRACY, PLAINTIFFS COMPLAIN OF
22 DEFENDANTS, DOES 1-450, THEIR “ALTERNATE ENTITIES,” AND EACH OF
   THEM, AND ALLEGE AS FOLLOWS:
23
           77.    Defendant METROPOLITAN LIFE INSURANCE COMPANY rendered
24
     substantial aid and assistance to the manufacturers of asbestos-containing products to
25
     which Plaintiff KENNETH KRANZ was exposed, and such assistance by
26
     METROPOLITAN LIFE INSURANCE COMPANY aided and abetted the negligence
27
     and the marketing of unreasonably dangerous asbestos-containing products by such
28
     manufacturers which proximately caused Plaintiff’s illnesses, injuries, disabilities and
                                                                                     Page 39
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 1 damages alleged herein.
 2         78.    METROPOLITAN LIFE INSURANCE COMPANY, prior to and during
 3 all relevant times associated with Plaintiff KENNETH KRANZ’s exposure to asbestos
 4 (1962 to 1965), intentionally withheld information concerning asbestos hazards and
 5 conspired with non-party Johns Manville, a major asbestos product manufacturer and
 6 supplier, to create studies that gave an inaccurate account of asbestos hazards. In both
 7 conducting tests and in publishing their alleged results, METROPOLITAN LIFE
 8 INSURANCE COMPANY failed to exercise reasonable care to conduct or publish
 9 complete, adequate, and accurate tests of the health effects of asbestos.
     METROPOLITAN LIFE INSURANCE COMPANY also caused to be published
10
     intentionally false, misleading, inaccurate, and deceptive information about the health
11
     effects of asbestos exposure.
12
           79.    Plaintiff KENNETH KRANZ unwittingly but justifiably relied upon the
13
     thoroughness of METROPOLITAN LIFE INSURANCE COMPANY’s tests and
14
     information dissemination, the results of which METROPOLITAN LIFE
15
     INSURANCE COMPANY published in leading medical journals.
16
           80.    As a direct and proximate contributing result of METROPOLITAN LIFE
17
     INSURANCE COMPANY's failures to conduct or accurately publish adequate tests
18
     or disseminate accurate and truthful information, after undertaking to do so; (i) the risk
19
     of harm to Plaintiff KENNETH KRANZ from asbestos exposure was increased, and
20
     (ii) Plaintiff suffered the illnesses, injuries, disabilities and damages alleged herein.
21         81.    In failing to test fully and adequately for the adverse health effects from
22 exposure to asbestos; in delaying the publication of such results; and in falsely editing
23 such results as were obtained; in suppressing relevant medical inquiry and knowledge
24 about those hazards to promote the sale and distribution of asbestos as a harmless
25 product; and in collaborating with the other Defendants materially to understate the
26 hazards of asbestos exposure, all for its own profit and gain, METROPOLITAN LIFE
27 INSURANCE COMPANY acted recklessly, wantonly, and in calculated disregard for
28 the welfare of the general public, including Plaintiff KENNETH KRANZ.
                                                                                         Page 40
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 1                              FIFTH CAUSE OF ACTION
 2                                LOSS OF CONSORTIUM
 3     AS AND FOR A FURTHER FIFTH, SEPARATE, AND DISTINCT CAUSE
   OF ACTION FOR LOSS OF CONSORTIUM, PLAINTIFF LUCINDA KRANZ
 4 COMPLAINS OF DEFENDANTS, DOES 1-450, THEIR “ALTERNATE
   ENTITIES,” AND each of them, AND ALLEGES AS FOLLOWS:
 5
 6           82.   Plaintiff LUCINDA KRANZ incorporates by reference each and every

 7 allegation contained in the general allegations and in the First, Second, Third, and
 8 Fourth Causes of Action herein.
 9
             83.   Plaintiffs KENNETH KRANZ and LUCINDA KRANZ were married
     July 9, 1966, and at all times relevant to this action were and are now husband and
10
     wife.
11
             84.   Prior to Plaintiff KENNETH KRANZ’s illnesses, injuries, and disabilities
12
     as herein alleged, he was able and did perform duties as a spouse. Subsequent to the
13
     illnesses, injuries, and disabilities and as a proximate result thereof, Plaintiff
14
     KENNETH KRANZ has been unable to perform the necessary duties as a spouse and
15
     the work and services usually performed in the care, maintenance, and management of
16
     the family home, and he will be unable to perform such work, service and duties in the
17
     future.   As a proximate result thereof, Plaintiff LUCINDA KRANZ has been
18
     permanently deprived and will be deprived of the consortium of her spouse, including
19
     the performance of duties, all to her damages, in an amount presently unknown but
20 which will be proved at the time of trial.
21       85. Plaintiff LUCINDA KRANZ’s discovery of this cause of her loss of
22 consortium, as herein alleged, first occurred within one year of the date this Complaint
23 was filed.
24           86.   As a direct and proximate result of the acts of Defendants, their “alternate
25 entities” and each of them, and the severe illnesses, injuries, and disabilities caused
26 thereby to Plaintiff KENNETH KRANZ as set forth in this Complaint, Plaintiff
27 LUCINDA KRANZ has suffered, and for a long period of time will continue to suffer
28 loss of consortium including, but not limited to, loss of services, marital relations,
                                                                                       Page 41
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 1
     society, comfort, companionship, love and affection of her spouse, and has suffered
 2
     severe mental and emotional distress and general nervousness as a result thereof.
 3                                    PRAYER FOR RELIEF
 4         WHEREFORE, Plaintiffs request that the Court enter an order or judgment
 5 against the Defendants as follows:
 6               Plaintiff KENNETH KRANZ:
 7               1.     For Plaintiff’s general damages according to proof;
 8               2.     For Plaintiff’s loss of income, wages, and earning potential
 9                      according to proof;
10               3.     For Plaintiff’s medical and related expenses according to proof;
11               4.     For Plaintiff’s cost of suit herein;
12               5.     For exemplary or punitive damages according to proof;
13               Plaintiff LUCINDA KRANZ:
14               6.     For Plaintiff’s damages for loss of consortium and/or society
15                      according to proof;

16               Plaintiffs KENNETH KRANZ and LUCINDA KRANZ:

17               7.     For Plaintiffs’ cost of suit herein;
                 8.     For exemplary or punitive damages according to proof;
18
      PLAINTIFFS REQUEST TRIAL BY JURY ON ALL ISSUES SO TRIABLE
19
20
     DATED: April 26, 2022           Respectfully submitted,
21
                                     SIMON GREENSTONE PANATIER, PC
22
23
                                     By:      _____________________________
24                                                 Stuart Purdy
25
26
27
28
                                                                                    Page 42
